Case 1:17-cv-02897-TWP-MPB Document 135 Filed 07/01/20 Page 1 of 11 PageID #: 2224




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

   INDIANA STATE CONFERENCE                      )
   OF THE NATIONAL ASSOCIATION                   )
   FOR THE ADVANCEMENT OF                        )
   COLORED PEOPLE (NAACP), et al.,               )
                                                 )
                  Plaintiffs,                    )
                        v.                       )       No. 1:17-cv-02897-TWP-MPB
                                                 )
   CONNIE LAWSON, in her official                )
   capacity as Secretary of State of             )
   Indiana, et al.,                              )
                                                 )
                                                 )
                  Defendants.                    )


                            MEMORANDUM IN SUPPORT OF
                           DEFENDANTS’ MOTION TO DISMISS

          Ever since the plaintiff organizations sued Indiana election officials almost

   three years ago, these two cases, 1:17-cv-03936 and 1:17-cv-02897,1 have been about

   Indiana’s participation in the Interstate Voter Crosscheck Program (Crosscheck).

   That is because Plaintiffs brought suit against Indiana officials to challenge

   Indiana’s use of information gathered through the Crosscheck voter data-sharing

   system, asserting that the way Indiana election officials used the data violated §

   8(d) of the National Voter Registration Act (NVRA). Plaintiffs alleged that the

   Crosscheck data were unreliable and that Indiana officials didn’t use the data in a

   way that complied with the NVRA. But Indiana’s General Assembly has amended


   1 For purposes of efficiency, the defendants’ memoranda in support of the motions to dismiss address
   both cases.
   .

                                                     1
Case 1:17-cv-02897-TWP-MPB Document 135 Filed 07/01/20 Page 2 of 11 PageID #: 2225




   the law to end Indiana’s participation in Crosscheck, and the Indiana Secretary of

   State has formally withdrawn Indiana from Crosscheck. Consequently, these cases

   are moot and should be dismissed.

                                  I.     BACKGROUND

         Plaintiffs in these two cases sued the Indiana Secretary of State and the Co-

   Directors of the Indiana Election Division in their official capacities, challenging the

   State’s use of Crosscheck data, which plaintiffs allege resulted in the violation of the

   NVRA. (Common Cause Comp., Dkt. 1, ¶ 1; NAACP Comp., Dkt. 1, ¶ 1).

         The plaintiffs’ claims arise from the National Voting Registration Act of 1993,

   which was passed to encourage states to both simplify and encourage voter

   registration, while maintaining accurate lists of voters. See National Voter

   Registration Act of 1993, H.R.2, 103rd Cong. (1993). Specifically at issue within the

   act is section 8, which provides a notice requirement in some circumstances before

   removing individuals from voting rolls for changing addresses. Id. Plaintiffs alleged

   that, due to inaccuracies in the Crosscheck system, voters could be wrongly

   identified as having changed addresses and that, previously under Indiana Code §

   3-7-38.2-5(d)—(e), counties could remove those voters from voting rolls immediately,

   without following the notice requirement in the NVRA. (Common Cause Comp.,

   Dkt. 1, ¶ 6; NAACP Comp., Dkt. 1, ¶ 4).

         On March 21, 2020, Governor Eric Holcomb signed Senate Enrolled Act 334.

   This law amended the Indiana code concerning elections and mandated Indiana’s

   withdrawal from the Crosscheck program. S.E.A. 334, 121st Gen. Assemb. (Ind.



                                              2
Case 1:17-cv-02897-TWP-MPB Document 135 Filed 07/01/20 Page 3 of 11 PageID #: 2226




   2020). Further, it required notification of cancellation of one’s voter registration to

   be sent to that voter’s Indiana address if no cancellation of that voter’s registration

   had been previously authorized. Id.

           With respect to the Crosscheck program, on March 25, 2020, in accordance

   with section 7 of SEA 334, Secretary of State Lawson informed Kansas Secretary of

   State Scott Schwab of the passage of SEA 334, and that Indiana was withdrawing

   from the memorandum of understanding previously entered into with Kansas and

   other states regarding the Crosscheck program, effective immediately. See Exhibit 1

   (Letter from Connie Lawson, Sec’y of State, State of Ind., to Scott Schwab, Sec’y of

   State, State of Kan. (Mar. 25, 2020)).2

           The passage of SEA 334 moots this lawsuit. All issues that the plaintiffs

   allege arise from the State’s use of the Crosscheck program. But, as of March,

   Indiana is no longer, in any way,3 a participant in the Crosscheck program. Because

   of this, intervening circumstances resulted in there no longer existing any live

   issues concerning Crosscheck. Should the Plaintiffs take issue with any current

   protocol the State uses to manage voting rolls, that would be a matter for a new

   case.




   2
    When determining whether subject-matter jurisdiction exists, the court may consider evidence
   beyond the jurisdictional allegations of a complaint. St. John’s Church of Christ v. City of Chicago,
   502 F.3d 616, 625 (7th Cir. 2006); see infra part II.

   3
    Indeed, no state has participated in Crosscheck since 2017 because Crosscheck has not been
   operating since then. See, e.g., Hegeman, Multistate Voter Database Suspended in Lawsuit
   Settlement, AP News, December 10, 2019, https://apnews.com/2c82eb782e578bbb81c121ec453fbee8.

                                                      3
Case 1:17-cv-02897-TWP-MPB Document 135 Filed 07/01/20 Page 4 of 11 PageID #: 2227




          But SEA 334 moots the issues before the Court in these cases. While

   Crosscheck only used voters’ first and last names and date of birth to determine if a

   voter was registered in two states, SEA 334 requires a holistic review that uses

   name and date of birth, as well as social security number, address, zip code, and

   driver’s license or identification card numbers, with each factor assigned a different

   point value. See S.E.A. 334, 121st Gen. Assemb. (Ind. 2020). Below is a breakdown

   of all factors and point totals:

          (A) Full Social Security number: 40 points.
          (B) Last four (4) digits of Social Security number: 10 points.
          (C) Indiana driver's license or identification card number: 50 points.
          (D) Date of birth: 25 points.
          (E) Last Name: 15 points.
          (F) First Name: 15 points.
          (G) Middle Name: 5 points.
          (H) Suffix: 5 points.
          (I) Street Address 1: 10 points.
          (J) Zip Code (first five (5) digits): 5 points.

   Under this system, a voter’s registration would be looked into only if the points

   totaled from each factor reach a threshold confidence factor of 75 points. Id. A

   shared first and last name, and date of birth, the only criteria used by Crosscheck,

   only totals 55 points. Id. Furthermore, regarding the issue of notice, SEA 334

   requires that voting registration may be canceled only once the voter authorizes the

   cancellation of registration after having moved to another state, or notice is sent to

   the voter’s Indiana address. Id at §7(e).

          But, more to the point, Plaintiffs through their lawsuits sought the injunctive

   relief of barring the State from using Crosscheck and restoring all voters removed

   from registration rolls after July 1, 2017. But this outcome was already achieved

                                               4
Case 1:17-cv-02897-TWP-MPB Document 135 Filed 07/01/20 Page 5 of 11 PageID #: 2228




   with the passage of SEA 334, which eliminated all use of the Crosscheck system.

   Accordingly, this issue should be regarded as moot, and Plaintiffs’ complaints

   should be dismissed under FRCP 12(b)(1) because no more relief can be granted for

   the claims the plaintiffs brought and mootness divests this Court of subject-matter

   jurisdiction.

                             II.    STANDARD OF REVIEW

          Plaintiffs’ Complaints should be dismissed under Rule 12(b)(1) of the Federal

   Rules of Civil Procedure, because, as a result of intervening circumstances, there is

   no longer a case or controversy. This court therefore lacks subject-matter

   jurisdiction.

          Article III of the U.S. Constitution limits the jurisdiction of federal courts to

   cases and controversies. Ciarpaglini v. Norwood, 817 F.3d 541, 544 (7th Cir. 2016).

   “This requires an actual controversy at ‘all stages of review, not merely at the time

   the complaint is filed.’” Id. (quoting Campbell-Ewald Co. v. Gomez, 577 U.S. ___,

   133 S. Ct. 663, 669 (2016). “Moot cases run afoul of the live case or controversy

   requirement under U.S. Const. art. III” because “the expiration of the complained-of

   conduct has transformed a once ‘distinct and palpable injury’ to a mere ‘abstract

   proposition’ existing ‘purely in the hypothetical.’” Yassan v. J.P. Morgan Chase &

   Co., 708 F.3d 963, 972 (7th Cir. 2013). “The mere theoretical possibility of a repeat

   violation” is insufficient to defeat mootness. Wernsing v. Thompson, 423 F.3d 732,

   744 (7th Cir. 2005) (internal quotation omitted). Dismissing claims for mootness

   “ensures that the federal courts remain faithful to the case or controversy limitation



                                               5
Case 1:17-cv-02897-TWP-MPB Document 135 Filed 07/01/20 Page 6 of 11 PageID #: 2229




   imposed by Article III of the Constitution by refraining from pronouncements on

   legal questions that do not affect existing controversies between parties before the

   court.” Protestant Mem. Med. Ctr. V. Maram, 471 F.3d 724, 729 (7th Cir. 2006).

   Federal courts “may not give opinions upon moot questions or abstract

   propositions.” Id. (quoting Wernsing v. Thompson, 423 F.3d 732, 745 (7th Cir.

   2005)).

         Accordingly, motions to dismiss claims as moot are properly brought under

   Rule 12(b)(1) for lacking subject-matter jurisdiction. See, e.g., St. John’s Church of

   Christ v. City of Chicago, 502 F.3d 616, 625 (7th Cir. 2006); Franzoni v. Hartmarx

   Corp., 300 F.3d 767, 771 (7th Cir. 2002); Snyder v. King, 745 F.3d 242, 251 (7th Cir.

   2014) (Wood, J., concurring) (“If [the case] were moot, then the dismissal would

   have to be under Rule 12(b)(1), for lack of subject-matter jurisdiction”). Federal Rule

   of Civil Procedure 12(b)(1) provides that a case may be dismissed for “lack of

   subject-matter jurisdiction.” When ruling on a motion to dismiss for lack of subject-

   matter jurisdiction under Federal Rule 12(b)(1), “the district court must accept as

   true all well-pleaded factual allegations and draw reasonable inferences in favor of

   the plaintiff.” Rueth v. U.S. E.P.A., 13 F.3d 227, 229 (7th Cir. 1993). The court may

   also “properly look beyond the jurisdictional allegations of the complaint and view

   whatever evidence has been submitted on the issue to determine whether in fact

   subject matter jurisdiction exists.” St. John’s Church, 502 F.3d at 625; see also

   Ciarpaglini, 817 F.3d at 543 (noting that courts may “view evidence to determine




                                              6
Case 1:17-cv-02897-TWP-MPB Document 135 Filed 07/01/20 Page 7 of 11 PageID #: 2230




   whether subject matter jurisdiction exists in fact” and considered a declaration by a

   party submitted in response to a motion to dismiss).

                                    III.   ARGUMENT

      A. Because intervening circumstances have provided the relief sought
         in Plaintiffs’ Complaints, mooting these cases, this Court lacks
         subject-matter jurisdiction

         Plaintiffs’ claims under the NVRA are no longer cognizable causes of action

   because the passage of SEA 334 and the State’s withdrawal from the Crosscheck

   program moot these cases.

         In City of Los Angeles v. Davis, the Supreme Court articulated a two-element

   test for analyzing mootness. A matter should be regarded as moot when: 1) “it can

   be said with assurance that there is no reasonable expectation that the alleged

   violation will recur;” and 2) “interim relief or events have completely and

   irrevocably eradicated the effects of the alleged violation.” 440 U.S. 625, 631 (1979)

   (quoting Powell v. McCormack, 395 U.S. 486, 498 (1969)). Specifically, the Court

   held that, “A case is moot when the issues presented are no longer 'live' or the

   parties lack a cognizable interest in the outcome.” City of L.A., 440 U.S. at 631.

   Because of this, the Court has held that a case must be dismissed as moot if a

   plaintiff loses a “personal stake in the outcome” of the case as a result of

   intervening circumstances. Genesis Healthcare Corp. v. Symczyk, 569 U.S. 66, 72

   (2013).

         Following the two-element test established in City of Los Angeles v. Davis,

   the allegations raised in Plaintiffs’ complaints are moot because 1) there is no



                                              7
Case 1:17-cv-02897-TWP-MPB Document 135 Filed 07/01/20 Page 8 of 11 PageID #: 2231




   reasonable expectation that the alleged violation of the NVRA will recur, and 2) any

   effects of the alleged violation have been ameliorated. 440 U.S. 625, 631 (1979).

   Indiana will not use Crosscheck information. The State formally removed itself from

   taking part in the Crosscheck system and has amended the challenged section of

   the Indiana Code. Further, in 2019, the Crosscheck program was indefinitely

   suspended, and even before that, numerous states had ceased participation in the

   program. Mark McCormick, ACLU of Kansas Settlement Puts “Crosscheck” out of

   Commission for Foreseeable Future, ACLU Kansas (Dec. 10, 2019),

   https://www.aclukansas.org/en/press-releases/aclu-kansas-settlement-puts-

   crosscheck-out-commission-foreseeable-future-program.

         Regarding the second element, the remedy of effects, from the alleged

   violation, no further relief could be granted than for the State to cease participation

   in the Crosscheck program. Although plaintiffs may have originally sought relief in

   the reinstatement of individuals removed from the voter rolls, since July 2017, a

   suit against the State is the improper means to achieve this remedy. During this

   timeframe, State officials did not remove individuals from voter rolls. Rather, this

   was the responsibility of each county. Because the State did not remove any

   individuals from voting rolls, the reinstatement of any individuals cannot be sought

   through a claim against the state. Furthermore, the Plaintiffs have not pointed to a

   single individual who has been incorrectly identified as having moved, when in fact,

   he or she did not. Additionally, the plaintiffs filed their complaints seeking




                                              8
Case 1:17-cv-02897-TWP-MPB Document 135 Filed 07/01/20 Page 9 of 11 PageID #: 2232




   injunctive relief. The purpose of this was to proscribe the State from acting in a

   particular manner, not to remedy some past problem.

         But an even bigger problem with the plaintiffs’ request for reinstatement is

   that no data were provided through Crosscheck under the challenged statute. In

   other words, there are no voters to be reinstated. Indeed, Plaintiffs seem to have

   conceded this and have abandoned this specific request for relief in that they did not

   pursue this in their motions for preliminary injunction. (Common Cause,

   Memorandum in Support of Preliminary Injunction, Dkt. 74; NAACP,

   Memorandum in Support of Preliminary Injunction, Dkt. 41 at 33).

         By withdrawing from the Crosscheck program and passing SEA 334, Indiana

   has provided all relief that could have been sought through an injunction.

   Accordingly, these cases are moot.

      B. This Court lacks subject-matter jurisdiction to hear any claim
         plaintiffs allege that does not arise from SEA 442.

         The plaintiffs in this case filed their claims specifically to address SEA 442

   and the use of data from Crosscheck with voter list maintenance. Any possible

   claims that the plaintiffs allege regarding SEA 334, the 2020 law, would need to be

   addressed in a separate lawsuit. Any claims alleged regarding SEA 334 are not the

   claims alleged regarding SEA 442, because SEA 334 completely ameliorated the

   alleged violations that existed under the previous law. Any alleged violations under

   SEA 334, would be entirely new claims, and should be treated as such, by, for

   example, allowing for discovery and a full hearing of the issues that would arise

   from that purely speculative case.

                                              9
Case 1:17-cv-02897-TWP-MPB Document 135 Filed 07/01/20 Page 10 of 11 PageID #: 2233




         These cases have always been about Crosscheck data. Specifically, the

   NAACP and the League of Women Voters start their complaint by alleging that,

   “Indiana Code § 3-7-38.2-5(d), as amended by Senate Enrolled Act No. 442 . . .

   flagrantly violates” NVRA requirements. (NAACP Complaint, Dkt. 1, ¶4) (emphasis

   added). Further, those plaintiffs asserted that, “[b]y using the Kansas-administered

   Crosscheck program to identify voters who have allegedly moved and registered in

   another state without the necessary protections, the Indiana Code, as amended by

   SB 442, also exposes voters to removal based on a list maintenance procedure that

   is neither reasonable, uniform, nor nondiscriminatory.” Id. Thus, the target of the

   plaintiffs’ grievances was what was permitted under SEA 442, which was the

   information received from Crosscheck. Likewise, Common Cause flatly stated in its

   complaint that, “At issue here is Indiana’s program that utilizes second-hand data

   from [Crosscheck…].” (Common Cause Comp., Dkt. 1, ¶ 4).

         The violations Plaintiffs alleged were specific to the Crosscheck program and

   the State’s use of that data. Because of this, the relief that the plaintiffs sought was

   that the State cease participation in the Crosscheck program and provide greater

   notice before allowing county officials to remove individuals from voting rolls.

   (Common Cause Comp. Dkt. 1, ¶ 63; NAACP Comp. Dkt. 1, ¶ 58). These goals have

   been achieved through with the passage of SEA 334. There is no longer any

   controversy and these cases should be dismissed because they are moot.

                                   IV.    CONCLUSION

         Plaintiffs’ complaints should be dismissed for the foregoing reasons.



                                              10
Case 1:17-cv-02897-TWP-MPB Document 135 Filed 07/01/20 Page 11 of 11 PageID #: 2234




                                      Respectfully submitted,

                                      OFFICE OF THE INDIANA ATTORNEY GENERAL

         Date: July 1, 2020           By: Jefferson S. Garn
                                      Attorney No. 29921-49
                                      Section Chief, Administrative & Regulatory
                                      Enforcement Litigation

                                      Courtney L. Abshire
                                      Attorney No. 35800-49
                                      Deputy Attorney General

                                      Parvinder K. Nijjar
                                      Deputy Attorney General
                                      Attorney No. 33811-41




         OFFICE OF THE INDIANA ATTORNEY GENERAL
         Indiana Government Center South, 5th Floor
         302 West Washington Street
         Indianapolis, Indiana 46204-2770
         Phone: (317) 234-7119
         Email: Jefferson.Garn@atg.in.gov




                                        11
